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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       No. 4:05CR85 HEA
                                             )
SCOTT WILLIAMS,                              )
                                             )
       Defendant.                            )

                                             ORDER

       IT IS HEREBY ORDERED that the sentencing hearing for the above-named defendant

previously set for Friday, April 14, 2006, is reset to Thursday, April 13, 2006, at 10:30 a.m. This

hearing will be held in the courtroom of the undersigned.

       Dated this 7th day of April, 2006.




                                             ________________________________
                                             HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
